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                    UNITED STATES COURT OF APPEALS
                                                                       FILED
                           FOR THE NINTH CIRCUIT
                                                                       JUN 21 2022
                                                                      MOLLY C. DWYER, CLERK
                                                                       U.S. COURT OF APPEALS




 BRIAN WHITAKER,                                 No. 22-15825

               Plaintiff - Appellant,
                                                 D.C. No. 3:21-cv-03750-JSC
   v.                                            U.S. District Court for Northern
                                                 California, San Francisco
 SLAINTE BARS, LLC, a California
 Limited Liability Company,                      ORDER

               Defendant - Appellee.


        A review of this court's docket reflects that the filing and docketing fees for

this appeal remain due. Within 21 days after the date of this order, appellant shall

pay to the district court the $505.00 filing and docketing fees for this appeal and

file in this court proof of such payment or file in this court a motion to proceed in

forma pauperis.

        The filing of a motion to proceed in forma pauperis will automatically stay

the briefing schedule under Ninth Circuit Rule 27-11.

        The Clerk shall serve a Form 4 financial affidavit on appellant.
                                                                                       (2 of 9)
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       If appellant fails to comply with this order, this appeal may be dismissed by

the Clerk for failure to prosecute. See 9th Cir. R. 42-1.




                                                FOR THE COURT:

                                                MOLLY C. DWYER
                                                CLERK OF COURT

                                                By: Tina S. Price
                                                Deputy Clerk
                                                Ninth Circuit Rule 27-7
                                                                                                                (3 of 9)
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                    UNITED STATES COURT OF APPEALS
                         FOR THE NINTH CIRCUIT
 Form 4. Motion and Affidavit for Permission to Proceed in Forma Pauperis
    Instructions for this form: http://www.ca9.uscourts.gov/forms/form04instructions.pdf

9th Cir. Case Number(s)

Case Name
Affidavit in support of motion: I swear under penalty of perjury that I am
financially unable to pay the docket and filing fees for my appeal. I believe my
appeal has merit. I swear under penalty of perjury under United States laws that
my answers on this form are true and correct. 28 U.S.C. § 1746; 18 U.S.C. § 1621.

Signature                                                             Date

The court may grant a motion to proceed in forma pauperis if you show that you
cannot pay the filing fees and you have a non-frivolous legal issue on appeal.
Please state your issues on appeal. (attach additional pages if necessary)




                  Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

Form 4                                               1                                        Rev. 12/01/2018
                                                                                                                           (4 of 9)
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1. For both you and your spouse, estimate the average amount of money received from each of the following
sources during the past 12 months. Adjust any amount that was received weekly, biweekly, quarterly,
semiannually, or annually to show the monthly rate. Use gross amounts, that is, amounts before any deductions
for taxes or otherwise.



                                           Average monthly amount during
                                                                                              Amount expected next month
                                                 the past 12 months

           Income Source                           You                   Spouse                   You             Spouse

Employment                                 $                       $                      $                $


Self-Employment                            $                       $                      $                $

Income from real property
                                           $                       $                      $                $
(such as rental income)

Interest and Dividends                     $                       $                      $                $


Gifts                                      $                       $                      $                $


Alimony                                    $                       $                      $                $


Child Support                              $                       $                      $                $

Retirement (such as social security,
                                           $                       $                      $                $
pensions, annuities, insurance)

Disability (such as social security,
                                           $                       $                      $                $
insurance payments)

Unemployment Payments                      $                       $                      $                $


Public-Assistance (such as welfare)        $                       $                      $                $


Other (specify)                            $                       $                      $                $


TOTAL MONTHLY INCOME:                      $                       $                      $                $




                              Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

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2. List your employment history for the past two years, most recent employer first.
   (Gross monthly pay is before taxes or other deductions.)

                                                                                   Dates of                Gross Monthly
          Employer                               Address
                                                                                  Employment                    Pay

                                                                             From
                                                                                                       $
                                                                             To

                                                                             From
                                                                                                       $
                                                                             To

                                                                             From
                                                                                                       $
                                                                             To

                                                                             From
                                                                                                       $
                                                                             To



3. List your spouse's employment history for the past two years, most recent employer first.
   (Gross monthly pay is before taxes or other deductions.)


                                                                                   Dates of                Gross Monthly
          Employer                               Address
                                                                                  Employment                    Pay

                                                                             From
                                                                                                       $
                                                                             To

                                                                             From
                                                                                                       $
                                                                             To

                                                                             From
                                                                                                       $
                                                                             To

                                                                             From
                                                                                                       $
                                                                             To




                           Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

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4. How much cash do you and your spouse have?               $

Below, state any money you or your spouse have in bank accounts or in any other financial institution.
                                                                                                            Amount Your Spouse
    Financial Institution               Type of Account                   Amount You Have
                                                                                                                   Has

                                                                      $                                 $


                                                                      $                                 $


                                                                      $                                 $


                                                                      $                                 $


If you are a prisoner seeking to appeal a judgment in a civil action or proceeding, you must attach a
statement certified by the appropriate institutional officer showing all receipts, expenditures, and balances
during the last six months in your institutional accounts. If you have multiple accounts, perhaps because
you have been in multiple institutions, attach one certified statement of each account.


5. List the assets, and their values, which you own or your spouse owns. Do not list clothing and ordinary
household furnishing.

           Home                               Value                       Other Real Estate                       Value



                                $                                                                       $




   Motor Vehicle 1: Make & Year                    Model                     Registration #                       Value


                                                                                                        $


   Motor Vehicle 2: Make & Year                    Model                     Registration #                       Value


                                                                                                        $




                            Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

Form 4                                                       4                                                   Rev. 12/01/2018
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                                    Other Assets                                                            Value



                                                                                                  $



                                                                                                  $



                                                                                                  $



6. State every person, business, or organization owing you or your spouse money, and the amount owed.

       Person owing you or your spouse                     Amount owed to you                    Amount owed to your spouse



                                                    $                                        $



                                                    $                                        $



                                                    $                                        $



7. State the persons who rely on you or your spouse for support. If a dependent is a minor, list only the initials
and not the full name.

                   Name                                          Relationship                                Age




                           Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

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8. Estimate the average monthly expenses of you and your family. Show separately the amounts paid by your
spouse. Adjust any payments that are made weekly, biweekly, quarterly, semiannually, or annually to show the
monthly rate.

                                                                                                   You        Spouse

Rent or home-mortgage payment (include lot rented for mobile home)                         $              $

- Are real estate taxes included?             Yes         No

- Is property insurance included?             Yes         No

Utilities (electricity, heating fuel, water, sewer, and telephone)                         $              $

Home maintenance (repairs and upkeep)                                                      $              $

Food                                                                                       $              $

Clothing                                                                                   $              $

Laundry and dry-cleaning                                                                   $              $

Medical and dental expenses                                                                $              $

Transportation (not including motor vehicle payments)                                      $              $

Recreation, entertainment, newspapers, magazines, etc.                                     $              $

Insurance (not deducted from wages or included in mortgage payments)

   - Homeowner's or renter's                                                               $              $

   - Life                                                                                  $              $

   - Health                                                                                $              $

   - Motor Vehicle                                                                         $              $

   - Other                                                                                 $              $

Taxes (not deducted from wages or included in mortgage payments)

   Specify                                                                                 $              $




                              Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

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                                                                                                 You        Spouse

Installment payments

   - Motor Vehicle                                                                       $              $

   - Credit Card (name)                                                                  $              $

   - Department Store (name)                                                             $              $

Alimony, maintenance, and support paid to others                                         $              $

Regular expenses for the operation of business, profession, or farm
                                                                                         $              $
(attach detailed statement)

Other (specify)                                                                          $              $

                                             TOTAL MONTHLY EXPENSES $                                   $

9. Do you expect any major changes to your monthly income or expenses or in your assets or liabilities during
the next 12 months?    Yes      No
   If Yes, describe on an attached sheet.

10. Have you spent—or will you be spending—any money for expenses or attorney fees in connection with this
lawsuit?    Yes     No

   If Yes, how much? $

11. Provide any other information that will help explain why you cannot pay the docket fees for your appeal.




12. State the city and state of your legal residence.

City                                                                 State



Your daytime phone number (ex., 415-355-8000)


Your age                        Your years of schooling




                            Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

Form 4                                                       7                                          Rev. 12/01/2018
